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                                   United States District Court
                                   Northern District of Indiana



 Ryan Klaassen, Jaime Carini, D.J.B., by and
 though his next friend and father, Daniel G.
 Baumgartner, Ashlee Morris, Seth Crowder,                  Civ. No. ________________________
                                                                        1:21-cv-238
 Macey Policka, Margaret Roth, and Natalie
 Sperazza,

                                              Plaintiffs,   Verified Complaint for Declaratory
     v.                                                     and Injunctive Relief

 The Trustees of Indiana University,
                                             Defendant.


             Verified Complaint for Declaratory and Injunctive Relief

    Plaintiffs Ryan Klaassen, Jaime Carini, D.J.B., by and though his next friend and father,

Daniel G. Baumgartner, Ashlee Morris, Seth Crowder, Macey Policka, Margaret Roth, and

Natalie Sperazza complain against Defendant as follows:

                                           Introduction

    1.    This is a civil action for declaratory and injunctive relief arising under the Fourteenth

Amendment and Indiana Code § 16-39-11-5 (Indiana’s “Vaccine Passport Law”).

    2.    It concerns the constitutionality of Indiana University’s Vaccine Mandate (“IU’s

Mandate”), which requires that all students to receive one of the available COVID vaccines.

    3.    IU’s Mandate violates the liberty protected by the Fourteenth Amendment to the U.S.

Constitution, which includes rights of personal autonomy and bodily integrity, and the right to

reject medical treatment.

    4.    IU’s Mandate also violates Indiana’s new Vaccine Passport Law which prohibits state

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and local units (including Indiana University (“IU”)) from requiring or issuing vaccine “pass-

ports” that indicate an individual’s COVID immunization status.

                                    Jurisdiction and Venue

    5.      This action arises under the Fourteenth Amendment and Indiana Code § 16-39-11-5.

    6.      This Court has jurisdiction over all claims pursuant to 28 U.S.C. Sections 1331 and

1343(a). It also has jurisdiction pursuant to the Declaratory Judgment Act as codified at 28

U.S.C. Sections 2201 and 2202.

    7.      Venue is proper under 28 U.S.C. Section 1391(b) because Defendant resides in this

District and because a substantial part of the events giving rise to the claim occurred in this

District.

                                               Parties

    8.      Plaintiff Ryan Klaassen is a resident of Noble County, Indiana and an incoming

sophomore at IU.

    9.      Plaintiff Jaime Carini is a resident of Rogers County, Oklahoma and is currently

pursuing two doctorates at IU—a Doctor of Music (D.M.) in organ performance and literature,

and a Ph.D. in musicology.

    10. Plaintiff D.J.B., by and though his next friend and father, Daniel G. Baumgartner, is a

resident of Cook County, Illinois and an incoming freshman at IU.

    11. Plaintiff Ashlee Morris is a resident of Jennings County, Indiana and an incoming 1L at

the McKinney School of Law.

    12. Plaintiff Seth Crowder is a resident of Marion County, Indiana and is currently pursuing



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his Masters of Business Administration at the Kelley School of Business.

    13. Plaintiff Macey Policka is a resident of Hamilton County, Indiana and a senior at IU.

    14. Plaintiff Margaret Roth is a resident of Marion County, Indiana and an incoming

freshman at IU.

    15. Plaintiff Natalie Sperazza is a resident of Hendricks County, Indiana and an incoming

sophomore at IU.

    16. Defendant The Trustees of Indiana University (“Board of Trustees”) is the governing

body, legal owner, and final authority of IU. IU “is recognized as the university of the state.”

IC § 21-20-2-1. The Board of Trustees has broad “powers, duties, and responsibilities” to govern

IU. See IC § 21-27 et seq.; see also IC § 21-39-2-2 (“The board of trustees . . . may govern, by

regulation and other means, the conduct of students, faculty, employees, and others while upon

the property owned, used, or occupied by the state educational institution.”) and Indiana

University Board of Trustees, About the Board of Trustees, https://trustees.iu.edu/about-the-boa

rd/index.html (last visited on June 17, 2021) (“The Board of Trustees is Indiana University’s

governing board, its legal owner, and its final authority.”). The Board of Trustees is a body

politic. IC § 21-20-2-2. The Board of Trustees may “in the name of ‘The Trustees of Indiana

University’ . . . be sued.” Id. at § 21-27-4-2.9.




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                                             I. Facts

A.   IU’s Mandate Overview and Implementation

         1.   IU’s Mandate and Exemptions

     17. On May 21, 2021, IU announced to all faculty, staff, and students that there would be a

requirement to receive a COVID-19 (“COVID”) vaccine for the fall 2021 semester. Indiana

University, New COVID-19 vaccine requirement, attached as Exhibit 1.

     18. This announcement was delivered via email to all current faculty, staff, and students of

every IU campus. See id.

     19. IU’s Mandate requires that all students, faculty, and staff receive one of the available

COVID vaccines by either August 15 or when they return to campus after August 1, whichever is

earlier. Indiana University, COVID-19 Vaccine, https://www.iu.edu/covid/prevention/covid-19-

vaccine.html (last visited June 17, 2021).

     20. In order to comply with IU’s Mandate, IU has suggested that students have their first

dose of the COVID vaccine by July 1, 2021. Id.

     21. There are “strong consequences” for those who refuse the vaccine and do not receive an

exemption. Id. Students will have their class registration canceled, their university-issued IDs,

known as “Crimson Cards,” terminated, and will be restricted from any on-campus activity. Id.

     22. Under IU’s Mandate, individuals may request an exemption if they fit an extremely

limited and narrow set of criteria. Id; see also Indiana University, COVID-19 Frequently Asked

Questions, https://www.iu.edu/covid/faq/index.html#vaccine-req (last visited June 17, 2021)

(“exemptions will be extremely limited”).


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    23. Exemption from IU’s Mandate applies to anyone with a religious objection, a docu-

mented allergy to the vaccine, medical deferrals, and for online students in a completely online

course with no on-campus presence. Id.

    24. IU’s Mandate does not include an exemption for those with natural immunity to

COVID, including those who have previously been infected and fully recovered, or those

students will a medical condition where the COVID vaccination is contra-indicated, even under

their attending physician’s advice.

    25. Initially, IU stated that the exemption process would become available on June 15,

2021; however on June 1, 2021, all faculty, staff, and students received an email with a live

exemption form. Fall 2021 Restart Guidance, Indiana University, attached as Exhibit 2.

    26. The exemption request form provides three exemption options coinciding with the

aforementioned criteria. Exemption Criteria, attached as Exhibit 3.

    27. Once an exemption form is completed online, IU’s Medical Response Team reviews the

exemption request and responds within five business days, presumably to approve or deny the

exemption. Indiana University, COVID-19 Vaccine, https://www.iu.edu/covid/prevention/covid

-19-vaccine.html (last visited June 17, 2021).

    28. Those who qualify for and are granted an exemption are still subject to additional

requirements (“Extra Requirements”).

    29. These Extra Requirements include requiring exempt individuals to participate mitiga-

tion testing twice a week, a mandatory quarantine if exposed to someone who tests positive for

COVID, mandatory face masks in public spaces, and a mandatory return to their home address if



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the campus has a serious outbreak of the virus. Indiana University, COVID-19 Frequently Asked

Questions, https://www.iu.edu/covid/faq/index.html#vaccine-req (last visited June 17, 2021)

    30. These Extra Requirements apply to all types of exemptions, regardless of which

exemption an individual qualifies for. Id.

    31. There are no exemptions from these Extra Requirements for those who qualify for a

religious or medical exemption. See infra ¶¶ 197, 199. There is no exemption from wearing a

face mask in public spaces. Id. There is no exemption from participating in the mandatory twice

a week mitigation testing. Id.

    32. If a person with an exemption is discovered not wearing a face mask or does not

participate in the mitigation testing, they face “disciplinary action up to and including dismissal

or termination from the university.” Id.

    33. If a person chooses to receive the vaccination, IU requires that such person use “IU’s

COVID-19 vaccine report form to attest that they are vaccinated and report all doses of [the]

vaccine.” Indiana University, COVID-19 Vaccine, https://www.iu.edu/covid/prevention/covid-

19-vaccine.html (last visited June 17, 2021). The form should be completed after each dose. Id;

see also Indiana University, COVID-19 Frequently Asked Questions, https://www.iu.edu/covid/

faq/index.html#vaccine-req (last visited June 17, 2021) (“All students, faculty and staff will need

to report their vaccine using IU’s COVID-19 vaccine self report form. As part of this process,

you will need to know the dates of your vaccine dose(s) and can upload a photo or scan of your

verified vaccine card received at your vaccine appointment (for example, CDC card) to be

entered in the incentive program.”).



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    34. Alternatively, the reporting individual can upload a copy of their vaccine documentation

to be eligible to be entered into IU’s incentive program. Indiana University, COVID-19 Vaccine,

https://www.iu.edu/covid/prevention/covid-19-vaccine.html (last visited June 17, 2021). “In

most cases, this [documentation] will be a photo or scan of the CDC card [received at the]

vaccination appointment that notes the date and type of vaccine [ ] received.” Id.

    35. IU’s incentive program includes: a student parking permit, bookstore giftcard, on-

campus dining credit, Apple watch, AirPods Pro, JBL speaker, Yeti cooler, credit for full-time

in-state tuition, and season tickets for the Colts or Indiana Repertory Theatre. Indiana University,

Get vaccinated, win prizes, https://www.iu.edu/covid/prevention/incentive-program.html (last

visited June 17, 2021).

         2.    Decision to Implement IU’s Mandate

    36. IU’s Mandate came from the recommendation of IU’s Restart Committee. Indiana

University Restart Committee Recommendations For Fall 2021 (May 26, 2021), attached as

Exhibit 4.

    37. The IU Restart Committee was charged by IU President Michael McRobbie with

delivering recommendations and advice on how to restart the entire university’s “normal” pre-

pandemic operations. Id. at 4. Executive Vice President and Dean of the School of Medicine Jay

Hess was the chair of the Restart Committee. Id.

    38. The Restart Committee’s report does not provide a clear process as to how the Commit-

tee came to the decision to recommend IU’s Mandate. See generally Indiana University Restart

Committee Recommendations For Fall 2021 (May 26, 2021), attached as Exhibit 4. However, it



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does establish that “[i]n developing recommendations for the 2021 Fall semester, we are

operating under the assumption that the vast majority of our constituents will be vaccinated,

allowing us to achieve herd immunity in our community.” Id. at 7 (emphasis added).

     39. No explanation for this assumption is given. Nor is there any explanation as to why IU’s

Mandate is needed if the vast majority of students will already be vaccinated, allowing IU’s

community to achieve herd immunity.

     40. Without evidence to the contrary, it appears the Restart Committee arbitrarily decided

that IU’s Mandate would be necessary due to an unsupported premise.

     41. The Restart Committee did not explain why it was necessary to implement IU’s

Mandate, the provisions of which far exceed those imposed by the CDC, state and county

authorities on the general public, and other universities. See infra Parts I.B.2.–I.B.6. (detailing

the requirements for each).

     42. No other details have been released by the Restart Committee. None of their meeting

minutes, records, or decision-making processes have been released to the IU community or

public at large.

     43. Plaintiffs’ counsel filed a public records request, requesting copies of all public records

related to IU’s decision to implement IU’s Mandate. To date, no documents have been provided.

B.   Context Surrounding IU’s Mandate

         1.   IU’s Mandate is Contrary to the FDA Emergency Use Authorization

     44. Currently, all three publicly-available COVID vaccines have only “Emergency Use

Authorization” status. These COVID vaccines are not vaccines licensed by the Food and Drug



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Administration (“FDA”), as they have not received full FDA approval.

    45. A drug classified under “Emergency Use Authorization” is a drug authorized by the

Secretary of Health and Human Services for the duration of an emergency under 21 U.S.C.A. §

360bbb-3.

    46. As a matter of law, a drug given Emergency Use Authorization (EUA) status is one not

already approved or licensed under the Public Health Service Act. 21 U.S.C.A. § 360bbb-3.

    47. A drug receives EUA status once the Secretary, in consultation with the Assistant

Secretary for Preparedness and Response, the Director of the National Institutes of Health, and

the Director of the Centers for Disease Control and Prevention, concludes that (1) “that an

agent . . . can cause a serious or life-threatening disease or condition;” (2) it is reasonable to

believe the drug may be effective in diagnosing, preventing, or treating, the agent, and the known

benefits of taking the drug outweigh the known risks; and (3) “that there is no adequate,

approved, and available alternative to the product for diagnosing, preventing, or treating such

disease or condition[.]” 21 U.S.C.A. § 360bbb-3©

    48. A vaccine authorized under Emergency Use Authorization requires complete, informed,

and voluntary consent. Indeed, as a condition of authorization under the Emergency Use

Authorization provisions, the Secretary is required:

     “to ensure that individuals to whom the product is administered are informed—
         (I) that the Secretary has authorized the emergency use of the product;
         (II) of the significant known and potential benefits and risks of such use, and of
         the extent to which such benefits and risks are unknown; and
         (III) of the option to accept or refuse administration of the product, of the
         consequences, if any, of refusing administration of the product, and of the alternatives to
         the product that are available and of their benefits and risks.



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21 U.S.C.A. § 360bbb-3(e)(1)(A)(ii)(I)-(III) (emphases added).

    49. Consequently, all COVID vaccines currently available under EUA can only be

administered to individuals in accordance with 21 U.S.C.A. § 360bbb-3(e)(1)(A)(ii)(III), which

requires the informed consent of the consumer before they receive the vaccination and the option

to refuse or accept the drug.

    50. The statute requires and, if followed, produces medical informed consent—consent

based on medical information from medical providers. The “consequences” of refusing the

product that are considered and for which consent is secured are medical consequences, not other

types of consequences, like loss of employment or virtual expulsion from school.

    51. The threat of virtual expulsion from school for students who refuse to take the vaccine

and who do not qualify for an exemption is not an attempt to garner consent—it is coercion. In

other contexts, even subtle, implied threats cannot constitutionally support “consent.”

Schneckloth v. Bustamonte, 412 U.S. 218, 228 (1973) (coerced police searches unconstitutional);

see also, Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 681 (2010) (arbitration “is

a matter of consent, not coercion”).

    52. While IU is not a provider and is not directly subject to the informed consent statute, the

principles supporting EUA itself, as well as the informed consent law, supports voluntary

informed consent from IU students—not coercion from IU’s administration.

    53. Accordingly, the same processes should be used, and consents obtained, when suggest-

ing that students get a vaccine that has only been approved for emergency use.

    54. IU’s Mandate is contrary to these principles, processes, and consents. It does not inform



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students that (1) the vaccines are only authorized for emergency use, (2) that there are “signifi-

cant known and potential benefits and risks of such use” (or “the extent to which such benefits

and risks are unknown”) or (3) that students have the “option to accept or refuse administration

of the product[.]”

    55. Contrary to the requirements imposed the general public, no IU student is given the

option to accept or refuse the vaccine, it is mandated.

         2.   IU’s Mandate is Contrary to Modern Medical Ethics

    56. IU’s Mandate is contrary to the fundamental tenet of medical ethics which require

voluntary and informed consent for any procedure, or drug that imposes a medical risk to an

individual. “A person may freely choose to accept medical risks for the benefit of others . . . we

don’t harvest organs without consent, even if doing so would save many lives. Those who make

such sacrifices for others must truly be volunteers, not conscripts drafted by college administra-

tors.” Aaron Kheriaty and Gerard V. Bradley, University Vaccine Mandates Violate Medical

Ethics, WALL STREET JOURNAL (June 14, 2021, 12:47 PM), https://www.wsj.com/articles/univer

sity-vaccine-mandates-violate-medical-ethics-11623689220 (last visited June 18, 2021).

    57. In some circumstances, our society has resolved this medical ethics quandary in favor of

mandatory vaccines. But it is critical to look at the specific contexts in which this has occurred.

    58. In elementary schools, pediatric vaccines are mandatory for illnesses that pose signifi-

cant medical risks to those children, like polio or measles. See id. Likewise, colleges usually

require its students to have been vaccinated against these illnesses.

    59. The risks of side effects and serious complications from these types of mandatory



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vaccines are generally known due to long-time use and years of research on the specific popula-

tion in question. The risks of serious illness or death due to the diseases far outweighs the known

risks of the vaccines to those same diseases.

    60. Here, the risk of serious morbidity and mortality from COVID for those under 30 are

close to zero. Id.; see also, Part I.C.2. The known and unknown risks associated with COVID

vaccines, particularly in those under 30, outweigh the risks to that population from the disease

itself, by any rational measure.

    61. For instance, “a June 10 review by the FDA’s Vaccines and Related Biological Products

Advisory Committee indicated an excess risk for heart inflammation, especially in men 30 and

younger.” Kheriaty, supra.

    62. Forced COVID vaccinations are also imposed on “populations that were deliberately

excluded from clinical trials,” such as patients who have recovered from COVID, as well as

pregnant and breast-feeding women. Id. Thus, any risks to them were completely unknown.

    63. People with higher risks of serious COVID complications, such as individuals over 60

and people with underlying health conditions, are not required to be vaccinated and can choose to

take the vaccine to protect themselves, if they wish.

    64. The much smaller subset of people who are at higher COVID risk and who cannot

safely receive the vaccine can mitigate their risks by practicing social distancing and wearing a

mask.

    65. “Protection of others,” especially in the COVID context, does not relieve our society

from the central canon of medical ethics requiring voluntary and informed consent.



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    66. The FDA requirement of voluntary and informed consent is based on the medical ethics.

However, history is replete with societies which violated this central tenet of medical ethics. In

1932, the United States did not receive voluntary and informed consent from African Americans

for a study in conjunction with the Tuskegee Institute on syphilis. The Tuskegee Study intention-

ally refused to reveal to the participants that they had syphilis, intentionally withheld widely

available treatments, like penicillin, from them and intentionally failed to get their informed

consent to participate in the study. The Centers for Disease Control and Prevention, U.S. Public

Health Service Syphilis Study at Tuskegee Timeline, https://www.cdc.gov/tuskegee/timeline.htm

(last visited June 18, 2021).

    67. It took forty years for the U.S. government to put an end to the Tuskegee Study. Id. The

Tuskegee Study prompted then-President Bill Clinton to state, “with [scientific and technical

changes] we must work harder to see that as we advance we don’t leave behind our conscience.

No ground is gained and, indeed, much is lost if we lose our moral bearings in the name of

progress.” Pres. Bill Clinton, Apology For Study Done in Tuskegee (May 16, 1997),

https://clintonwhitehouse4.archives.gov/textonly/New/Remarks/Fri/19970516-898.html (last

visited June 18, 2021).

    68. Of course, the historical example of the Tuskegee Study differs from IU’s Mandate

because IU has no intent to risk harm to its students and they are not conducting a “study.” And

Plaintiffs do not claim otherwise. However, However, IU’s Mandate does not provide for

voluntary and informed consent to the taking of the vaccine, a fundamental tenet of medical

ethics, which the Tuskegee Institute also failed. Thus, IU’s Mandate is contrary to modern



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medical ethics.

         3.   IU’s Mandate is Contrary to CDC’s Recommendations

    69. The CDC guidelines for unvaccinated people remain largely unchanged from when the

pandemic officially began on March 11, 2020. Currently, the CDC’s guidance for unvaccinated

people is to wear a mask, social-distance at least six feet apart from other individuals, avoid any

sort of crowd whether it be outside or inside, and sanitize often. See Center for Disease Control,

Guidance for Unvaccinated People: How to Protect Yourself and Others, Updated June 11,

2021, https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html (last

visited June 18, 2021).

    70. Furthermore, the CDC suggests that people get vaccinated, but does not require it. Id.

    71. IU’s Mandate is contrary to CDC recommendations, as the CDC simply suggests that

individuals get vaccinated and use other protective measures. The CDC does not recommend

requiring any individual to be vaccinated.

         4.   IU’s Mandate is Contrary to Indiana State Requirements.

    72. The current guidelines for Indiana were established in Governor Holcomb’s latest

executive orders. 2021 Ind. Exec. Order 21-14 (May 28, 2021), https://www.in.gov/gov/files

/Executive-Order-21-14-Fiftenth-Renewal-of-Emergency-Declaration.pdf (last visited June 18,

2021) and 2021 Ind. Exec. Order 21-15 (May 28, 2021) https://www.in.gov/gov/files/Executive-

Order-21-15-Continuation-of-Health-and-Welfare-Provsions.pdf (last visited June 18, 2021).

    73. In Order 21-14, the Governor rescinded most statewide guidelines for COVID.

However, several statewide guidelines remain in place temporarily. See Amelia Pak-Harvey,



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Gov. Eric Holcomb extends health emergency, lifts some requirements starting in June,

Indianapolis Star, (May 28, 2021), https://www.indystar.com/story/news/politics/2021/05/28/

indiana-gov-holcomb- renews-health-emergency-lifts-some-requirements/5248601001/ (last

visited June 18, 2021).

    74. General requirements for all Hoosiers are to follow CDC guidelines depending on

whether an individual is vaccinated or unvaccinated. Order 21-15 at 3.

    75. The State encourages anyone who has not obtained a vaccine to do so. Id. at 3.

    76. Furthermore, the State still encourages an individual to be tested for COVID if they

show its symptoms, regardless of vaccination status. Id. at 3.

    77. Those who have not obtained a vaccination are still “encouraged” to socially distance

themselves, but there is no longer a requirement to do so. Id. at 4.

    78. Lastly, face-masks are no longer required in state facilities, except for anyone in State

facilities ran by the Department of Corrections, State Hospitals, the Indiana Veterans Home, and

the Indiana Law Enforcement Academy. Id. Masks are also required at COVID testing or

vaccination sites and all K-12 educational facilities. Id.

    79. However, Governor Holcomb has announced that “[a]ll directives in executive orders

which have continued throughout the public health emergency will be rescinded and cease on

June 30.” State of Indiana, Gov. Holcomb Signs COVID-19 Executive Orders (May 28, 2021),

https://events.in.gov/event/gov_holcomb_signs_covid-19_executive_orders_4054?utm_campaig

n=widget&utm_medium=widget&utm_source=State+of+Indiana (last visited June 20, 2021).

    80. The State of Indiana has not issued a vaccination mandate.



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    81. The State of Indiana has not even issued a vaccination mandate for its State employees.

    82. Indiana does not require that anyone show proof of vaccination. Such proof would

violate State law. See infra Part I.B.7.

    83. IU’s Mandate is contrary to Indiana recommendations, going significantly further than

any recommendations from the State and violating State law in the process, by requiring that

students prove their vaccination status.

         5.   IU’s Mandate is contrary to Allen County, Marion County, and Monroe
              County’s Recommendations

    84. While IU has multiple campuses and contacts across the State, three of the bigger

locations are in Allen County, Marion County, and Monroe County. The recommendations for

these counties are discussed in turn.

    85. Allen County has no COVID requirements for its residents. Allen County Department

of Health, Health Commissioner Recommends County Residents Continue COVID-19 Precau-

tions (Apr. 1, 2021), https://www.allencountyhealth.com/health-commissioner-recommends-co

unty-residents-continue-covid-19-precautions/ (last visited June 18, 2021) (“the Department will

not implement any local restrictions at this time.”).

    86. Allen County is recommending that residents continue to wear masks, social distance,

sanitize regularly, stay home when sick, get vaccinated, etc. Id.

    87. Allen County is not requiring its residents or county employees to get vaccinated. And it

is not requiring any proof of vaccination status. Id.

    88. Marion County has lifted the mask mandate for vaccinated persons. Marion County

Public Health Department, Public Health Order 12-2021 (June 8, 2021), https://www.wishtv.co


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m/wp-content/uploads/2021/06/Community-Updated-Final-PHO-12-2021-for-June-8-2021.pdf

(last visited June 18, 2021). It still requires masks for non-vaccinated persons. Id. Marion County

encourages social distancing, frequent sanitizing, vaccination, etc. Id. It limits large gatherings

and capacity for certain places, like bars, restaurants, and nightclubs. Id.

    89. Marion County is not requiring its residents or county employees to get vaccinated. And

it is not requiring any proof of vaccination status. Id.

    90. Monroe County has rescinded any mask requirements and the limitations on gatherings

of people. Dr. Thomas Sharp, Monroe County Health Department, COVID-19 Health Order/

Regulation will be Rescinded Starting Monday, May 17 (May 14, 2021), https://www.co.mon

roe.in.us/egov/documents/1621029168_52145.pdf (last visited June 18, 2021). No other

restrictions have been issued by the county government since.

    91. Monroe County is not requiring its residents or county employees to get vaccinated.

And it is not requiring any proof of vaccination status.

    92. No local governments in Indiana have issued a vaccination mandate for their residents.

    93. No local governments in Indiana has even issued a vaccination mandate for local county

employees.

    94. IU’s Mandate is contrary to applicable county requirements—going significantly further

than any of the relevant counties’ recommendations and requirements.

         6.   IU’s Mandate is Contrary to other Public Universities

    95. No other public university in the State of Indiana has issued a vaccination mandate.

Indiana University is the sole public education institution to require the Vaccine. As a result,



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students attending Indiana University are treated differently and unequally as a result of IU’s

Mandate.

    96. Ball State University does not have a COVID vaccination mandate. Instead, Ball State

University simply “encourage[s] all to adhere to essential protective behaviors such as wearing

face coverings, physical distancing, maintaining proper hygiene, and receiving the COVID-19

vaccine as they become eligible[.]” Ball State University, Cardinals Care, https://bsu.edu/about/

administrativeoffices/emergency-preparedness/pandemicfluprep/coronavirus/cardinals-care (last

visited June 18, 2021).

    97. Indiana State University does not have a COVID vaccination mandate. Indiana State

University is simply encouraging “students living in residence halls and apartments on campus

. . . to get vaccinated.” Indiana State University, Student FAQs, https://www.indstate.edu/sites/

default/files/media/student-covid-faq-21-22.pdf (last visited June 18, 2021). Indiana State also

stated that “every individual is expected to take responsibility for their own health and safety and

act in a manner that demonstrates respect and consideration for others around them.” Indiana

State University, Students and Families, https://www.indstate.edu/covid/students-families (last

visited June 18, 2021).

    98. Purdue University does not have a vaccine mandate. Purdue’s current vaccine policy is

to strongly encourage students to get vaccinated and to document their status. Purdue University,

Vaccine Information, https://protect.purdue.edu/vaccine-information/ (last visited June 18, 2021).

    99. Ivy Tech Community College does not have a vaccine mandate. Indiana’s largest

community college system is only encouraging students to get vaccinated. Ivy Tech Community



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College, Current COVID-19 Policies, https://www.ivytech.edu/coronavirus.html (last visited

June 18, 2021).

    100.        The University of Southern Indiana does not have a vaccine mandate. It is only

encouraging, but not mandating, that students be vaccinated. University of Southern Indiana,

COVID-19 (coronavirus) Information, https://www.usi.edu/covid-19/ (last visited June 18,

2021).

    101.        Vincennes University does not have a vaccine mandate. The university is simply

encouraging students to get vaccinated. Vincennes University, Frequently Asked Questions,

https://www.vinu.edu/covid-19-faq (last visited June 18, 2021).

    102.        Indiana University stands alone as the sole public university in Indiana with a

vaccine mandate. See Shari Rudavsky and Isaiah Seibert, Here's which Indiana colleges and

universities will require COVID-19 vaccines this fall, Indianapolis Star (May 21, 2021),

https://www.indystar.com/story/news/education/2021/05/21/iu-requiring-covid-vaccine-ball-

state-iupui-purdue-notre-dame/5207192001/ (last visited June 18, 2021).

           7.   IU’s Mandate Violates Indiana’s Ban on Vaccine Passports

    103.        Under Indiana law, state and local units are prohibited from requiring or issuing

vaccine “passports” that indicate an individual’s COVID immunization status. IC § 16-39-11-5.

    104.        Legislative intent to prevent the state from requiring vaccine passports can be

inferred from Representative Jacob’s comments on the House floor, “The thought of a state

mandating that people take a vaccine that is still experimental according to the manufacturers of

the vaccine would be considered a gross violation of the individual freedom of Hoosiers.” Taylor



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Dixon, Indiana government will be prohibited from requiring ‘vaccine passports’ under new

amendment, TheStateHouseFile.com (Apr. 22, 2021), http://thestatehousefile.com/indiana-gove

rnment-will-be-prohibited-from-requiring-vaccine-passports-under-new-amendment/ (last visited

June 18, 2021).

    105.      In a recent opinion, Indiana Attorney General Todd Rokita advised the Vaccine

Passport Law applies to public colleges and universities like IU because they are “arm[s] of the

state.” State of Indiana Office of the Attorney General, Official Opinion 2021-1 on University

Policies on COVID-19 Vaccination (May 26, 2021) (“Opinion Letter or “Op. Letter”) attached as

Exhibit 5.

    106.      Attorney General Rokita made clear that the Vaccine Passport Law does not

prohibit an entity from requesting proof of COVID immunization status, provided no negative

consequence arises from not producing the record. Op. Letter, Exhibit 5, at 4 (emphasis added).

    107.      As shown above, every IU student is required to be vaccinated for COVID, unless

they qualify for an exemption. But it is not enough for an IU student to merely receive the

COVID vaccine—he or she “will need to report their vaccine using IU’s COVID vaccine self

report form.” See Indiana University, Frequently Asked Questions, https://www.iu.edu/covid/

faq/index.html#vaccine-req (last visited June 18, 2021). Therefore, IU mandates not only the

vaccine, but also mandates the student prove his or her COVID immunization status.

    108.      IU students who fail to provide proof of their COVID immunization status (or who

have not been granted an exemption) will suffer severe negative consequences in direct violation

of the Vaccine Passport Law. See supra Part I.A.1.



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    109.        In short, if a student doesn’t provide IU with his or her COVID immunization

status, IU virtually expels that student. Virtual expulsion from school for refusing to provide

COVID immunization status is a “negative consequence” that directly violates Indiana law.

    110.        IU’s Mandate “unquestionably violates the new law.” Op. Letter, 7.

C. Current Risk to IU Students of COVID Infection and Adverse Outcomes

           1.   Current State of the Pandemic

    111.        The pandemic is virtually over. The CDC recently reported the lowest number of

cases since March of 2020 (the beginning of the COVID pandemic). Sam Baker & Andrew

Witherspoon, COVID-19 cases hit lowest point in U.S. since pandemic began, AXIOS (June 3,

2021), https://www.axios.com/coronavirus-cases-infections-vaccines-success-fa7673a1-0582-4e

69-aefb-3b5170268048.html (last visited June 20, 2021).

    112.        In Indiana, Governor Holcomb has already declared the end of the COVID

emergency on June 30, when nearly all State COVID restrictions will end. See ¶ 79.

    113.        According to a report from Harvard doctors, a pandemic is over when herd

immunity is reached, which they define as at least 70% of the population either being vaccinated

or exposed to the virus. Alvin Powell, Vaccines can get us to herd immunity, despite the variants,

HARVARD GAZETTE (Feb. 25, 2021), https://news.harvard.edu/gazette/story/2021/02/vaccines-

should-end-the-pandemic-despite-the-variants-say-experts/#:~:text=A%20Harvard%20immunolo

gist%20said%20current,fight%20against%20the%20disease.

    114.        Further, according to Dr. Peter McCullough who has extensively researched

COVID and its treatments, herd immunity is calculated by a specific formula.



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    115.      Dr. McCullough’s formula is as follows: ((CC*6) + V + (.15*P)) ÷ P = HIN

CC= COVID cases in the state
6= the current CDC multiplier1
V= number of vaccinated in the state
15%= of the total people in the state, this represents the number of people in a given state that
will not get COVID
P=Population of a state (i.e. Indiana)
HIN=Herd Immunity Totals

    116.      According to Dr. McCullough, you take the total cases of COVID in Indiana

(753,0002) times 6—this equals 4,518,000—then add the total number of vaccinated

(2,880,6353), and finally add 15% of the population (1,009,800), which equals 8,408,435, as

shown below:

(753,000*6) + 2,880,635 + (.15*6,732,000) = 8,408,435

4,518,000 + 2,880,635 + 1,009,800 = 8,408,435

    117.      If you add all these numbers together you get 8,408,435, which you then divide by

the total population of Indiana (6,732,0004), which equals 125% of the population.

8,408,435 ÷ 6,732,000 = 125%

    118.      This number is over 100% due to the overlap of people who were infected with

COVID and also received the vaccine, so they are counted twice. While the number of people in


        1
        Centers for Disease Control and Prevention, Estimated Disease Burden of COVID-19
(May 19, 2021), https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/burden.html
        2
          Indiana State Department of Health, Indiana COVID-19 Dashboard and Map (June 18,
2021), https://www.coronavirus.in.gov/2393.htm (last visited June 20, 2021).
        3
         Indiana State Department of Health, Vaccine Dashboard, (June 18, 2021),
https://www.coronavirus.in.gov/vaccine/2680.htm (last visited June 20, 2021).
        4
          United States Census, QuickFacts Indiana (July 1, 2019), https://www.census.gov/qu
ickfacts/IN (last visited June 20, 2021).

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this group is not known,5 the percentage of overlap would have to be over 50% to get below the

number for herd immunity to fall below 70%, which is very unlikely.

    119.         Additionally, infection rates continue to decline. According to the official Indiana

COVID numbers, the infection rate was a mere 2.7% during the week of June 2, 2021, and it

continues to decline daily.

Table A.




Indiana State Department of Health, Indiana COVID-19 Dashboard and Map (June 18, 2021),

https://www.coronavirus.in.gov/2393.htm.

    120.         The June 14, 2021, infection rate was only 2.4%. Id.

    121.         As the numbers continue to decline, such draconian measures as requiring all

students to be vaccinated is not reasonable.

            2.   Risk to the College-Age Group from a COVID Infection

    122.         Moreover, as of May 30, 2021, the positivity test rate for new COVID cases at IU-



        5
       There is no specific data from the CDC or the Indiana Department of Health detailing
how many people have had both.

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Bloomington was 0%. Indiana University, IU Bloomington COVID-19 Testing Dashboard,

https://www.iu.edu/covid/dashboard/bloomington (last visited June 20, 2021). The highest IU

infection rate ever was 7.51% on August 30, 2020, and it has steadily declined since then with no

indication of a new wave. Id.

    123.        The current risk of getting COVID is very low, and college and graduate students

do not generally spread it.

    124.        The lack of so called “super spreader events” further shows that the pandemic is

over. This generally occurs where large masses of people gather in close quarters and the virus

spreads rapidly and easily.

    125.        However, the Indianapolis 500 recently occurred and there were over 135,000 fans

in the stadium. Vocal opponents of the event said that there would be a huge uptick in COVID

cases.

    126.        However, since the event on May 30, 2021, there has been a continued decline of

COVID in Indiana. See Table B COVID-19 Cases Continue to Decline after Indy 500, attached

as Exhibit 6.

    127.        This is because large gatherings are not the problem. Epidemic spread of COVID,

like all other respiratory viruses, notably influenza,6 is driven by symptomatic persons; asymp-

tomatic spread is trivial and inconsequential.

    128.        A meta-analysis of contact tracing studies published in The Journal of the

American Medical Association showed asymptomatic COVID spread was 0.7%. Zachary J.

         6
       Eleni Patrozou & Leonard A. Mermel, Does Influenza Transmission Occur from
Asymptomatic Infection or Prior to Symptom Onset?, 124 Pub. Health Rep. 193 (2009).

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Madewell, PhD; Yang Yang, PhD; Ira M. Longini Jr, PhD; M. Elizabeth Halloran, MD, DSc;

Natalie E. Dean, PhD, Household Transmission of SARS-CoV-2: A Systematic Review and Meta-

analysis, JAMA Network Open, available at https://jamanetwork.com/journals/jamanetworko

pen/fullarticle/2774102 (last visited June 20, 2021).

    129.      Accordingly, a rational and ethical prevention measure to reduce the spread of

COVID is a simple requirement, as part of formal policies, that persons with active symptomatic,

febrile (feverish) respiratory illnesses, like COVID, should isolate themselves. Indeed during the

H1N1 influenza A pandemic, fully open, unmasked college campuses were advised by federal

health officials, “Flu-stricken college students should stay out of circulation” and “if they can’t

avoid contact they need to wear surgical masks.” Great Falls Tribune, Advice: Flu-stricken

college students should stay out of circulation, August 21, 2009, page 5, section A, available at

https://www.newspapers.com/image/243611045.

    130.      Specifically in Monroe County, where one of IU’s campuses is located, only four

cases per 100,000 people have been reported for the past seven days, and statistically there has

been less than one death per 100,000 people. CNNhealth, Tracking Covid-19 cases in the US,

https://www.cnn.com/interactive/2020/health/coronavirus-us-maps-and-cases/ (last visited June

20, 2021).

    131.      Despite a high frequency of COVID infections, as determined by standard testing,

serious COVID cases among college and graduate students is a rare event. Brown University

physician epidemiologist, Andrew Bostom, MD, MS, compiled data from 100 major university

and college COVID data dashboards, in conjunction with national and local news reports of



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campus-related hospitalizations, August 2020 through the November 2020, Thanksgiving holiday

break (11/22/20).

    132.      The COVID positive tests and related hospitalizations from 100 universities/

colleges, from August 2020–November, 2020 are detailed in Table C, attached as Exhibit 7.

    133.      As depicted in Table C, among students on campus during this period, even though

there were 139,000 positive COVID tests, there were a mere 17—typically short-term— reported

COVID hospitalizations. This was driven by a cluster of seven hospitalizations from Dayton

University, i.e., only 0.012% of total positive tests resulting in hospitalization.

    134.      Within this large sample, there were zero medically-confirmed, albeit one possible,

COVID related death. This very reassuring data accrued in the absence of any COVID vaccina-

tion of the student population.

    135.      Importantly, as shown by this data, no one has died from COVID at Indiana

University and only one person was hospitalized—even at the peak of the pandemic. The risks

for this age group to developing serious side effects from COVID is extremely low. Studies show

that there is only a .0002% chance of dying from COVID for people ages 20-49.

    136.      Further, the CDC has released charts depicting the risks by age, as shown below.




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Table D.




Table E.




    137.      These charts (Tables D and E) show the minimal risk 18-29 year olds face across the

United States. For example, for every one 18-29 year old that dies from COVID, 4.5 30-39 year

olds die, 13 40-49 year olds die, 44 50-64 year olds die, 130 65-74 year olds die 320 75-84 year

olds die, and 870 over 85 die.

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    138.      These studies do not take into account pre-existing conditions and co-morbidities,

which greatly increase the likelihood of death in COVID patients. The people who are at the

highest risk and have the greatest need for the vaccine are those over the age of fifty. The risk for

young people is near minuscule with the achievement of herd immunity and highly effective

treatments.

    139.      As shown, according to the CDC, no 18-29 year olds have died from COVID in

2021 in Indiana.

    140.      The lower risks associated with catching and treating COVID make IU’s Mandate

unreasonable.

    141.      Further, college students are not the spreaders of the virus to the community. There

was a recent study from Dr. Arnold and colleagues that reported the results of a longitudinal

serosurvey (blood sampling) of community residents in Centre County, Pennsylvania, home to

Pennsylvania State University, University Park campus. See Callum R K Arnold, Sreenidhi

Srinivasan, Catherine M Herzog, Abhinay Gontu, Nita Bharti, Meg Small, Connie J Rogers,

Margeaux M Schade, Suresh V Kuchipudi, Vivek Kapur, Andrew Read, Matthew J Ferrari,

SARS-CoV-2 Seroprevalence in a University Community: A Longitudinal Study of the Impact of

Student Return to Campus on Infection Risk Among Community Members, medRXiv (Feb. 19,

2021), available at https://pubmed.ncbi.nlm.nih.gov/33619497/ (last visited June 20, 2021).

    142.      The return of approximately 35,000 students to the campus in August 2020

increased the county population size by nearly 20%. Id. Over 4,500 cases of COVID infections

were detected among the student population during the Fall 2020 term (before and just after



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student return). Id. Between August 7, 2020, and October 2, 2020, these investigators enrolled

community residents and tested their serum for the presence of anti-Spike Receptor Binding

Domain (S/RBD) IgG (a class of immunoglobulin “antibodies”), to confirm prior COVID

exposure. Id. This was repeated in the same community during December 2020 (after the

departure of students), and seroprevalence for both sampling waves was recorded and analyzed.

Moreover, returning students were enrolled in a longitudinal cohort, and IgG seroprevalence

results were reported from the first wave of sampling (between October and November 2020,

prior to the end of the term). Here is how Arnold and colleagues summarized their findings:

             Of 345 community participants, 19 (5.5%) were positive for SARS-CoV-2 IgG
             antibodies at their first visit between 7 August and 2 October. Of 625 returning
             student participants, 195 (31.2%) were positive for SARS-CoV-2 antibodies
             between 26 October and 23 November. 28 (8.1%) of the community participants
             had returned a positive result by 9 December. Only contact with known
             SARS-CoV-2-positive individuals and attendance at small gatherings (20-50
             individuals) were significant predictors of IgG antibodies among returning students
             (adjusted odds ratio, 95% Confidence Interval: 3.24, 2.14-4.91, p<0.001; and 1.62,
             1.08-2.44, p<0.05; respectively).

They concluded:

             Despite high seroprevalence observed within the student population,
             seroprevalence in a longitudinal cohort of community residents was low and stable
             from before student arrival for the Fall 2020 term to after student departure,
             implying limited transmission between these cohorts…The demographic shift
             associated with student return to campus was not associated with increased
             SARS-CoV-2 seroprevalence in this cohort of community residents.

Id.

      143.       College students face little chance of actually catching COVID and little chance of

spreading it to the greater community.




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    144.      Even if students catch the virus, the treatment of the virus has improved tremen-

dously since the advent of COVID. Studies have shown several different treatment methods,

which have proven effective. A combination of medications for a minimum of five days and

acutely administered supplements used for the initial ambulatory patient with suspected and or

confirmed COVID-19 (moderate or greater probability) has proven effective. Brian C Procter,

Casey Ross, Vanessa Pickard, Erica Smith, Cortney Hanson, Peter A McCullough, Clinical

outcomes after early ambulatory multidrug therapy for high-risk SARS-CoV-2 (COVID-19)

infection, Reviews in Cardiovascular Medicine (December 30, 2021), available at

https://rcm.imrpress.com/EN/10.31083/j.rcm.2020.04.260 (last visited June 20, 2021).

Table F

Agent (drug)                         Rationale
Zinc                                 Inhibits SARS-CoV-2 RNA synthesis
Hydroxychloroquine 200 mg po bid     Inhibits endosomal transfer of virions, anti-inflammatory
Ivermectin (200 mcg/kg) usual dose   Attenuates importin α/β-mediated nuclear
12 mg po qd x 3 days                 transport of SARS-CoV-2 into nucleus
Azithromycin 250 mg po bid           Covers respiratory bacterial pathogens in secondary in-
                                     fection
Doxycycline 100 mg po bid            Covers respiratory bacterial pathogens in secondary in-
                                     fection
Inhaled budesonide, Dexamethasone 8 mg IM Treats cytokine storm
Folate, thiamine, vitamin 12         Reduce tissue oxidative stress
Intravenous fluid                    Intravascular volume expansion

    145.       This study, conducted by Dr. McCullough, evaluated patients between the ages of

12 and 89 years. The average age was 50.5 and 61.6% were women. The study found that primary

care physicians can treat COVID patients with low hospitalization and death. The study showed

that administration of the medicines and supplements shown in table produces a less than 2%

chance of facing hospitalization or death. As this study was done with mainly higher risk patients

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at the peak of the pandemic, this is a highly successful treatment plan and just one of the many

new treatments that have been used in the last year. Id.; see also National Institutes of Health,

Therapeutic Management of Adults With COVID-19 (Updated May 24, 2021), https://www.covi

d19treatmentguidelines.nih.gov/management/therapeutic-management/ (last visited June 21,

2021).

    146.        Treatment has improved so drastically for COVID that according to the CDC, there

were 16 deaths in Indiana for young adults aged 18-29 in 2020, but zero in 2021. This is evidence

of better treatment and less risk for college aged students.

    147.        Even the Restart Committee acknowledged that “The IU population to date has had

a very low rates of hospitalization and death due to COVID-19 infection.” Indiana University

Restart Committee Recommendations For Fall 2021, Exhibit 4, p. 8. This was true even in the

height of the pandemic.

    148.        As shown, the pandemic is virtually over, herd immunity has been achieved, and

there is an extremely minimal risk of COVID to IU students, making IU’s Mandate irrational and

unreasonable.

           3.   Risks to the College-Age Groups for other Causes.

    149.        Table G shows the numbers of deaths for Indiana residents between the ages of 15 -

24 in 2019, for various non-COVID causes:




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Table G

Cause of Death                                       Number of Indiana Residents, Ages 15 - 24
Homicide                                             146
Road Traffic Accidents                               143
Suicide                                              117
Poisonings                                           107
Other Injuries                                       18
Inflammatory/Heart                                   13
Congenital Anomalies                                 11
Endocrine Disorders                                  10

World Life Expectancy, Indiana Health Rankings, https://www.worldlifeexpectancy.com/indian

a-cause-of-death-by-age-and-gender (last visited June 19, 2021) (citing recent data from the CDC,

NIH, and individual state and county databases for verification and supplementation for USA

data).

    150.        Plaintiffs’ counsel has submitted a public record’s request to the Indiana Department

of Health to supplement this data, but have not yet received a response. However, even using the

general data in the table above shows the risk of death for college-age students from any number

of causes unrelated to COVID far outnumber the risk of death from COVID.

    D. Current Benefits and Risks to IU Students of COVID Vaccinations

           1.   Benefits of COVID Vaccination for IU Students

    151.        The vaccine has proven to be effective to prevent COVID—studies show that the

Vaccines are anywhere from 70-95% effective in preventing COVID.

           2.   Known Risks of COVID Vaccination for IU Students

    152.        Even if the pandemic was still occurring, it is unreasonable for students to get a

risky, relatively untested vaccine.

    153.        There are emerging trends showing that the vaccine is especially risky for those 18-

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29.

      154.    Increasingly the medical community is acknowledging the possible risks and side

effects including myocarditis, Bell’s Palsy, Pulmonary Embolus, Pulmonary Immunopathology,

and severe allergic reaction causing anaphylactic shock. See Chien-Te Tseng, Elena Sbrana,

Naoko Iwata-Yoshikawa, Patrick C Newman, Tania Garron, Robert L Atmar, Clarence J Peters,

Robert B Couch, Immunization with SARS coronavirus vaccines leads to pulmonary

immunopathology on challenge with the SARS virus, https://pubmed.ncbi.nlm.nih.gov/22536382/

(last visited June 21, 2021); Centers for Disease Control and Prevention, Allergic Reactions

Including Anaphylaxis After Receipt of the First Dose of Pfizer-BioNTech COVID-19 Vaccine —

United States, December 14–23, 2020 (Jan 15, 2021), https://www.cdc.gov/mmwr/volumes/70/

wr/mm7002e1.htm (last visited June 21, 2021).

      155.    For example, 19-year-old Simone Scott at Northwestern University died from

complications of myocarditis after receiving her second dose of the Moderna COVID vaccine.

Megan Redshaw, 19-Year-Old College Freshman Dies From Heart Problem One Month After

Second Dose of Moderna Vaccine, Children’s Health Defense, (June 15, 2021) https://childrenshe

althdefense.org/defender/19-year-old-dies-heart-problem-moderna-vaccine/ (last visited June 21,

2021).

      156.    Also, a 21-year-old in New Jersey who was required to get the vaccine to attend

college in the fall developed myocarditis after receiving the vaccine and had to be hospitalized.

Megan Redshaw, Exclusive: Dad Says Life ‘Not the Same’ for 21-Year-Old Student Who

Developed Myocarditis After Second Moderna Shot, Children’s Health Defense (June 15, 2021),



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https://childrenshealthdefense.org/defender/21-year-old-new-jersey-student-severe-heart-inflamm

ation-moderna-covid-vaccine/ (last visited June 21, 2021).

    157.      Multiple recent studies and news reports detail people 18-29 dying from myocarditis

after receiving the COVID vaccine. According to the CDC, 475 cases of pericarditis and

myocarditis7 have been identified in vaccinated citizens aged 30 and younger. See FDA, Vaccines

and Related Biological Products Advisory Committee June 10, 2021 Meeting Presentation,

https://www.fda.gov/media/150054/download#page=17 (last visited June 21, 2021).

    158.      The FDA found that people 12-24 account for 8.8% of the vaccines administrated,

but 52% of the cases of myocarditis and pericarditis reported. Id.

Table H




    159.       The CDC even has a warning on their website now, stating that myocarditis is a

potential risk for young adults, but they believe the risks outweigh the benefits even though this is

a surging problem and a risk with both the Moderna and Pfizer vaccine. Centers for Disease


        7
          Myocarditis is inflammation of the heart muscle, whereas pericarditis is inflammation of
the sac-like tissue around the heart called the pericardium.

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Control and Prevention, COVID-19 Vaccines for Children and Teens (Updated May 27, 2021),

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/adolescents.html (last

visited June 21, 2021).

    160.       Multiple medical studies are starting to come out detailing this problem.8

    161.       Further, milder side effects from the vaccine include changes in hormone and

menstrual cycles in women, fever, swelling at the injection site, etc. Jill Seladi-Schulman, Ph.D,,

Can COVID-19 or the COVID-19 Vaccine Affect Your Period? (May 25, 2021), https://www.heal

thline.com/health/menstruation/can-covid-affect-your-period#covid-19-and-menstrual-cycles (last

visited June 21, 2021); Rachael K. Raw, Clive Kelly, Jon Rees, Caroline Wroe, David R.

Chadwick, Previous COVID-19 infection but not Long-COVID is associated with increased

adverse events following BNT162b2/Pfizer vaccination, (pre-print) https://www.medrxiv.org/con

tent/10.1101/2021.04.15.21252192v1 (last visited June 21, 2021).

    162.       Additionally, there are a host of unknown side effects that may exist as the vaccine

has only gone through human testing for seven months.

            3. Known Risk of Administering COVID Vaccinations to IU Student who have
            already had a COVID Infection.

    163.       There is also recent research on the fact that the COVID vaccine is dangerous for



        8
          See, e.g., Tommaso D’Angelo MD, Antonino Cattafi MD, Maria Ludovica Carerj MD,
Christian Booz MD, Giorgio Ascenti MD, Giuseppe Cicero MD, Alfredo Blandino MD,
Silvio Mazziotti MD, Myocarditis after SARS-CoV-2 Vaccination: A Vaccine-induced
Reaction?, Pre-proof, Canadian Journal of Cardiology, https://www.onlinecjc.ca/action/show
Pdf?pii=S0828-282X%2821%2900286-5 (last visited June 21, 2021); Jeffrey Heller, Israel sees
probable link between Pfizer vaccine and myocarditis cases (June 2, 2021), https://www.reuters.
com/world/middle-east/israel-sees-probable-link-between-pfizer-vaccine-small-number-myocard
itis-cases-2021-06-01/ (last visited June 21, 2021).

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those who have already had COVID.

    164.      A medical study of United Kingdom healthcare workers who had already had

COVID and then received the vaccine found that they suffered higher rates of side effects than the

average population. Rachel K. Raw, et al., Previous COVID-19 infection but not Long-COVID is

associated with increased adverse events following BNT162b2/Pfizer vaccination, medRxiv (pre-

print), https://www.medrxiv.org/content/10.1101/2021.04.15.21252192v1 (last visited June 21,

2021).

    165.       The test group experienced more moderate to severe symptoms than the study group

that did not previously have COVID. Id.

    166.      The symptoms included fever, fatigue, myalgia-arthralgia and lymphadenopathy. Id.

           4. Comparison of Immunity Conferred by a previous COVID Infection and by the
           COVID Vaccination.

    167.      Those who have previously had COVID do not even need the vaccine.

    168.      In a CDC document entitled “Questions & Answers: Vaccine Against 2009 H1N1

Influenza Virus,” the CDC stated that: “If you have had 2009 H1N1 flu, as confirmed by an RT-

PCR test, you should have some immunity against 2009 H1N1 flu and CAN CHOOSE NOT

(emphasis added) to get the 2009 H1N1 vaccine.” Centers for Disease Control and Prevention,

Questions & Answers: Vaccine Against 2009 H1N1 Influenza Virus, https://www.cdc.gov/h1n1flu

/vaccination/public/vaccination_qa_pub.htm (last visited June 21, 2021).

    169.      Fast forward just over a decade later, and after intensive investigation for the past

16-months, both laboratory and real world clinical data demonstrate convalescent, unvaccinated

COVID immunity is just as robust as vaccine-acquired COVID immunity.


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    170.      Indeed multiple laboratory studies conducted by highly respected U.S. and European

academic research groups have reported that convalescent mildly or severely infected COVID

patients who are unvaccinated can have greater virus neutralizing immunity—especially more

versatile, long-enduring T- cell immunity—relative to vaccinated individuals who were never

infected. See Athina Kilpeläinen, et al., Highly functional Cellular Immunity in SARS-CoV-2

Non-Seroconvertors is associated with immune protection, bioRxiv (pre-print), https://www.bior

xiv.org/content/10.1101/2021.05.04.438781v1 (last visited June 21, 2021); Tongcui Ma, et al.,

Protracted yet coordinated differentiation of long-lived SARS-CoV-2-specific CD8+ T cells

during COVID-19 convalescence, bioRxiv (pre-print), https://www.biorxiv.org/content/10.110

1/2021.04.28.441880v1 (last visited June 21, 2021); Claudia Gonzalez, et al., Live virus neutrali-

sation testing in convalescent patients and subjects vaccinated against 19A, 20B, 20I/501Y.V1

and 20H/501Y.V2 isolates of SARS-CoV-2, medRxiv (pre-print), https://www.medrxiv.org/

content/10.1101/2021.05.11.21256578v1 (last visited June 21, 2021); Carmen Camara, et al.

Differential effects of the second SARS-CoV-2 mRNA vaccine dose on T cell immunity in naïve

and COVID-19 recovered individuals, bioRxiv (pre-print), https://www.biorxiv.org/content/10.1

101/2021.03.22.436441v1 (last visited June 21, 2021); Ellie N. Ivanova, et al., Discrete immune

response signature to SARS-CoV-2 mRNA vaccination versus infection, medRxiv (pre-print),

https://www.medrxiv.org/content/10.1101/2021.04.20.21255677v1(last visited June 21, 2021);

Catherine J. Reynolds, et al, Prior SARS-CoV-2 infection rescues B and T cell responses to

variants after first vaccine dose, (pre-print), https://pubmed.ncbi.nlm.nih.gov/33931567/

(last visited June 21, 2021); Yair Goldberg, et al., Protection of previous SARS-CoV-2 infection is

similar to that of BNT162b2 vaccine protection: A three-month nationwide experience from

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Israel, medRxiv (pre-print), https://www.medrxiv.org/content/10.1101/2021.04.20.21255670v1

(last visited June 21, 2021).

    171.       An enormous real world Israeli national follow-up study of ~6.4 million individuals,

demonstrated clearly that naturally-acquired COVID convalescence immunity was equivalent to

vaccine-acquired immunity in preventing COVID infection, morbidity, and mortality. Yair

Goldberg, et al., Protection of previous SARS-CoV-2 infection is similar to that of BNT162b2

vaccine protection: A three-month nationwide experience from Israel, medRxiv (pre-print),

https://www.medrxiv.org/content/10.1101/2021.04.20.21255670v1 (last visited June 21, 2021).

    172.      Faring at least as well as those vaccinated, 187,549 unvaccinated COVID positive

persons who tested positive between June 1, 2020 to September 30, 2020, and were followed

through March 20, 2021, revealed 894 [0.48%] were reinfected; 38 [0.02%] were hospitalized, a

mere 16 [0.008%] hospitalized with severe disease, and only 1 [one]/187,549 died—an individual

over 80 years old. Id.

    173.      The Israeli investigators concluded, “Our results question the need to vaccinate

previously infected individuals.” Id.

    174.      Cleveland Clinic investigators have confirmed the Israeli findings in a study of their

own employees. Nabin K. Shrestha, Patrick C. Burke, Amy S. Nowacki, Paul Terpeluk, Steven

M. Gordon, Necessity of COVID-19 vaccination in previously infected individuals, medRxiv (pre-

print), https://www.medrxiv.org/content/10.1101/2021.06.01.21258176v2 (last visited June 21,

2021). They found zero SARS-CoV-2 reinfections during 5-month follow-up among n=1359

infected employees who remained unvaccinated and concluded such persons are “unlikely to



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benefit from covid-19 vaccination.” Id.

    175.      The risks of the vaccine and the fact that people who have already had COVID have

at least equally strong protection from the virus makes IU’s Mandate irrational and unnecessary.

           5. Comparison of Risks of COVID Vaccinations with Vaccinations for other
           Infectious Diseases

    176.       The vaccine is also far less safe than previous vaccines like the meningicoccal

meningitis vaccine that is typically required on college campuses.

    177.      For example, the VERS (Vaccine Adverse Event Reporting System) data from the

CDC shows, for 18-29 year olds in Indiana, there have been no deaths from the meningitis

vaccine.

    178.      The main side effects people reported are headache, injection site pain, nausea,

chills, and a fever, and even these were limited as no more than fifteen of each were reported .

Centers for Disease Control and Prevention, WONDER data, https://wonder.cdc.gov/controller/da

tarequest/D8;jsessionid=18AD7080CCFA8D95903AEDB6B601 (last visited June 21, 2021).

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    179.      However, in the brief time the COVID vaccines have been available, there have been

many more serious symptoms and even a death reported for 18-29 year olds in Indiana. See Table


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I.

     E. Factual Allegations of Plaintiffs

     180.     Plaintiff Ryan Klaassen is an incoming Sophomore at IU. He has a sincerely held

religious objection to receiving the COVID Vaccine. As a result, he sought and was granted a

religious exemption to the Vaccine.

     181.     Mr. Klaassen also objects generally to the extra requirements of masks and testing

applied to him. He objects to these extra requirements given their unreasonableness and the

extremely minimal risk of COVID to those in his age group.

     182.     Plaintiff Jaime Carini is currently pursuing two doctorates at IU— a Doctor of

Music (D.M.) in organ performance and literature, and a Ph.D. in musicology. She has a sincerely

held religious objection to receiving the COVID Vaccine. As a result, she sought and was granted

a religious exemption to the Vaccine.

     183.     Miss Carini also objects generally to IU’s Mandate. She objects to taking the

Vaccine, given the known and unknown risks associated with it, and the extremely minimal risk

of COVID to her age group. Specifically, Miss Carini does not feel safe taking the Vaccine which

hasn’t been around long enough to know the long-term side effects.

     184.     Miss Carini suffers from multiple chronic illnesses. As a result of these illnesses,

Miss Carini is treated by a world-renowned infectious disease doctor. Infectious disease doctors

treat illnesses caused by various pathogens, including bacteria, viruses, and parasites—so diseases

like HIV/AIDS, Lyme disease, malaria, West Nile virus, and COVID-19 fall under their purview.

     185.     When Miss Carini saw her physician at her last appointment, the doctor’s parting



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words were, “No vaccine for you. Let me know if you need a letter for the university.”

    186.      Miss Carini’s physician provided such a letter stating that “Due to the inflammatory

nature of [her] illness it’s our strong medical opinion that she not receive any immunization at this

time.” The physician further stated that the Vaccine could cause a relapse, impede progress, and

prolong recovery.

    187.      Despite all this, Miss Carini was horrified to discover that IU’s Mandate prohibits

Miss Carini from receiving a medical exemption, given the Mandate’s extremely narrow criteria

for obtaining such exemption.

    188.      What is most troubling to Miss Carini about IU’s Mandate is that it allows hardly

any exemptions at all. Most critically, the medical exemption form gives Miss Carini’s practitio-

ner no room to express his expert medical opinion outside the confines of IU’s Mandate.

    189.      IU is saying that it has the right to insert itself into the relationship between Miss

Carini and her physician. IU is saying that they know better than world-renowned infectious

disease physicians what Miss Carini’s vaccination status should be. IU is saying that it has the

right to change Miss Carini’s highly skilled physician’s medical treatment plan for her.

    190.      Miss Carini wants to be free to follow her provider’s directives. IU’s Mandate

directly interferes with and contradicts the medical treatment prescribed for Miss Carini by her

physician.

    191.      Miss Carini should not be required to put her health at risk in order to comply with

IU’s Mandate and objects to doing so.

    192.      Miss Carini also objects to the extra requirements of masks and testing applied to



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him. She objects to these extra requirements given their unreasonableness and the extremely

minimal risk of severe complications or death from COVID for somebody in her age group.

    193.      Miss Carini has been notified by her physician that given the medications she is on

(specifically, Ivermectin), she is protected against COVID. As a result, she sought an exemption

from the mandatory testing, which IU denied, despite her not being at risk for COVID.

    194.      While Miss Carini did obtain a religious exemption, she would rather be exempt

from IU’s Mandate for medical reasons. Doing so ensures that she is not targeted, harassed, or

bullied for her religious views. Yet, Miss Carini has not had the option to obtain a medical

exemption.

    195.      Miss Carini does not have to option to simply transfer universities, to one which

wouldn’t require the vaccine or the extra requirements, due to her significant time investment in

the IU doctoral programs and the fellowships she has been awarded at IU.

    196.      Plaintiff D.J.B. is an incoming freshman at IU. As a minor, he is represented in this

case by his father and next friend, Daniel G. Baumgartner. Mr. D.J.B. has a religious objection to

receiving the COVID Vaccine. As a result, he sought and was granted a religious exemption to the

Vaccine.

    197.      Mr. D.J.B. also has a sincerely held religious objection to the extra requirements

applied to him. He sought a religious exemption to these requirements but was refused. Mr. D.J.B.

received a response from the IU COVID Response Team, stating that:

    Exemptions from IU’s vaccine mandate for religious reasons are only available to those
    individuals who attest that their sincerely held religious beliefs prevent them from receiving
    a vaccination. Anyone who is granted an exemption on this basis is required to wear a mask
    at all times on IU property and is subject to routine mitigation testing. There are no


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    exemptions from these masking and mitigation testing requirements. Failure to comply with
    masking and mitigation testing requirements will result in disciplinary action up to and
    including dismissal or termination from the university.

    198.      Mr. D.J.B. recently had a COVID antibody test which revealed that he still has

antibodies. As a result, he sought a medical exemption to IU’s Mandate (and attached the relevant

lab results showing the antibodies). This request for medical exemption was refused.

    199.      The IU COVID Response Team stated that “[n]atural antibodies are not a criteria for

medical exemption” and that:

    there are no exemptions from masking and mitigation testing requirements at Indiana
    University unless fully vaccinated. Failure to comply with masking and mitigation testing
    requirements will result in disciplinary action up to and including dismissal or termination
    from the university.

    200.      Mr. D.J.B. also objects generally to the extra requirements of masks and testing

applied to him. He objects to these extra requirements as they are not necessary, since he already

has natural antibodies. He also objects given their unreasonableness and the extremely minimal

risk of COVID to those in his age group.

    201.      Plaintiff Ashlee Morris is an incoming 1L at the McKinney School of Law. She has

a sincerely held religious objection to receiving the COVID Vaccine. As a result, Miss Morris

sought and was granted a religious exemption to the Vaccine.

    202.      Miss Morris also has a sincerely held religious objection to the extra requirements

applied to her. She tried to apply for an exemption to the masking and testing requirements but the

IU COVID Response Team refused her request. Miss Morris received a substantially similar

response as detailed in ¶ 197 from the IU COVID Response Team.

    203.      Miss Morris has worked for six years to be accepted into law school, taking the


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LSAT multiple times and applying four times. After years of hard work, she accomplished her

goal and was accepted into McKinney School of Law. However, if required to comply with these

unreasonable requirements, she will not attend. This will result in years of hard work and money

wasted.

    204.       Miss Morris would still like to attend McKinney School of Law if her religious

objections are respected and she is not subjected to extra requirements, which make her a target

for discrimination, bullying, and unwanted attention.

    205.       Plaintiff Seth Crowder is currently pursuing his Masters of Business Administration

through the Kelley School of Business. He has a sincerely held religious objection to receiving the

COVID Vaccine. As a result, Mr. Crowder sought and was granted a religious exemption to the

Vaccine.

    206.       Mr. Crowder also has a sincerely held religious objection to the extra requirements

applied to him. He tried to apply for an exemption to the masking and testing requirements but the

IU COVID Response Team refused his request.

    207.       Plaintiff Macey Policka is a senior at IU. She has a sincerely held religious objection

to receiving the COVID Vaccine. As a result, she sought and was granted a religious exemption to

the Vaccine.

    208.       Miss Policka also objects generally to the extra requirements of masks and testing

applied to her. She objects to these extra requirements given their unreasonableness and the

extremely minimal risk of COVID to those in her age group.

    209.       Plaintiff Margaret Roth is an incoming freshman at IU. Miss Roth objects generally



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to IU’s Mandate. She objects to taking the Vaccine, given the known and unknown risks

associated with it, and the extremely minimal risk of COVID to all age groups, especially her age

group.

    210.      Miss Roth has a significant family history of cancer and other health conditions. Her

mother passed away from cancer at 35, her sister is in treatment for Hodgkin’s Lymphoma, two of

her aunts suffered from early-onset breast cancer, and her great-aunt passed away from breast

cancer. Her aunt suffered from Bell’s Palsy. Miss Roth also suffers skin reactions from cosmetics,

moisturizers, hygiene products, and often has hives/skin rashes that appear without known cause.

All of this makes it much more likely that Miss Roth will suffer adverse reactions from the

Vaccine. As a result, she is not willing to take the Vaccine for medical reasons. Despite this, Miss

Roth does not qualify for a medical exemption under IU’s extremely narrow set of exemptions.

    211.      Additionally, asthma runs in Miss Roth’s family, so masks are also not an acceptable

alternative. Nor is repeated exposure to the carcinogenic chemicals on the nasal testing swabs,

especially with her family history of cancer.

    212.      Miss Roth should not be required to put her health at risk in order to comply with

IU’s Mandate and objects to doing so.

    213.      Miss Roth also has a sincerely held religious objection to IU’s Mandate. Miss Roth

has not filed for such exemption because she does not believe that it adequately protects her from

IU’s Mandate.

    214.      Plaintiff Natalie Sperazza is an incoming sophomore at IU. Miss Sperazza objects

generally to IU’s Mandate. She objects to taking the Vaccine, given the known and unknown risks



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associated with it, and the extremely minimal risk of COVID to her age group.

    215.      Miss Sperazza has spent significant time researching the Vaccine and does not feel

safe taking it when those in her age group are developing heart problems as a result of the

Vaccine, and when the long-term side effects of the Vaccine are unknown. She believes that

taking the Vaccine puts her health at risk.

    216.      Miss Sperazza also objects to the extra requirements of masks and testing applied to

her. She objects to these extra requirements given their unreasonableness and the extremely

minimal risk of COVID to those in her age group.

    217.      For all of the reasons shown above (see generally ¶¶ 17-216), all Plaintiffs object to

IU’s Mandate.

    218.      All Plaintiffs also object to the Vaccine on the basis that it has only received

Emergency Authorization from the FDA. None are willing to take the Vaccine while it is only

approved under that Emergency Authorization.

    219.      Plaintiffs should not be required to put their health at risk (given the known and

unknown risks of the Vaccine) in order to comply with IU’s Mandate and object to doing so.

    220.      Plaintiffs are irreparably harmed by IU’s Mandate.

    221.      Plaintiffs have no adequate remedy at law.

                                              Count I
                    IU’s Mandate Violates Fourteenth Amendment Liberty.

    222.      Plaintiffs re-allege and incorporate by reference all of the allegations contained in all

of the preceding paragraphs.

    223.      IU’s Mandate violates the liberty protected by the Fourteenth Amendment to the

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U.S. Constitution, which includes rights of personal autonomy and bodily integrity, see, e.g.,

Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11 (1905), and the right to reject medical

treatment, Cruzan v. Director, Missouri Dep’t Health, 497 U.S. 261 (1990).

    224.      Historically, many have understood Jacobson v. Commonwealth of Massachusetts.

197 U.S. 11 (1905), to authorize near carte blanche for government to mandate vaccinations in

response to pandemics on the basis that such individual liberty must yield to the common

good—all with great deference to legislatures and little or no evidence contrary to their choice

reviewed. So cases entitled to higher scrutiny have instead received the highly deferential

Jacobson analysis. But even Jacobson was not absolute carte blanche because it recognized an

exception where rights are violated or a mandate is unreasonable for not advancing health:

    If there is any . . . power in the judiciary to review legislative action in respect of a matter
    affecting the general welfare, it can only be when that which the legislature has done comes
    within the rule that, if a statute purporting to have been enacted to protect the public health,
    the public morals, or the public safety, [1] has no real or substantial relation to those objects,
    or [2] is, beyond all question, a plain, palpable invasion of rights secured by the fundamental
    law, it is the duty of the courts to so adjudge, and thereby give effect to the Constitution.

Id. at 31 (citations omitted).

    225.      Jacobson’s analysis doesn’t resemble today’s jurisprudence, which has less or no

deference where rights are involved and requires evidence. Since Jacobson, Fourteenth Amend-

ment liberty has been recognized as strongly protecting contraception, Griswold v. Connecticut,

381 U.S. 479 (1965), abortion, Roe v. Wade, 410 U.S. 113 (1973), same-sex marriage, Obergefell

v. Hodges, 576 U.S. 644 (2015), and refusing medical treatment, Cruzan, 497 U.S. 261. And

Jacobson was part of a Progressive Era emphasis on enhancing governmental power at the

expense of the individual that included a eugenics movement culminating in the infamous


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decision approving involuntary sterilization in Buck v. Bell, 274 U.S. 200 (1927), which cited

Jacobson as authority for its decision. Id. at 207. Those attitudes have since been widely repudi-

ated along with their low valuation of individual liberty.

    226.      Under today’s jurisprudence, even rational-basis review, applicable for example to

economic regulations, is “not toothless.” See, e.g., Mathews v. Lucas, 427 U.S. 495, 510 (1976)

(citing, e.g., Jimenez v. Weinberger, 417 U. S. 628 (1974); Frontiero v. Richardson, 411 U. S.

677, 691 (Stewart, J., concurring in judgment, Powell, J., concurring in judgment)); Reed v. Reed,

404 U.S. 71 (1971)). Even under rational-basis review there must be “a sufficient factual context

for [a court] to ascertain some relation between [what the restriction does] and the purpose it

served,” Romer v. Evans, 517 U.S. 620, 632-33 (1996), so the judiciary definitely has power to

weigh evidence considered by the legislature and hear expert testimony on competing views.9

Thus, there must be, demonstrably, “a rational relationship to an independent and legitimate

legislative end.” Id. at 633.

    227.      In 2020, in light of these discrepancies between Jacobson and current jurisprudence,

the Supreme Court implicitly narrowed the perceived breadth of Jacobson in Roman Catholic

Diocese of Brooklyn v. Cuomo. 141 S. Ct. 63 (2020) (per curiam), not by mentioning Jacobson

and expressly abrogating it, but by holding that (i) normal strict scrutiny applied to a Free

Exercise Clause challenge to non-neutral pandemic restrictions on the number people in houses of

worship, (ii) challengers had likely merits success and other injunction factors weighed in their



        9
          And though Jacobson disallowed evidence as to the efficacy and safety of the vaccina-
tion itself, which would not be precluded under today’s jurisprudence, Jacobson’s own stated
exception to its deference would have required (and thus allowed) relevant evidence.

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favor, and (iii) this justified an injunction during appeal, id. at 66-69. Under Jacobson, a highly

deferential, limited-judicial-role, little-evidence-required analysis would have applied, not strict

scrutiny, so without any need to mention Jacobson the Court simply abandoned it by applying its

current jurisprudence. Strict scrutiny requires the government to prove its restriction to be the

least restrictive means to further a compelling interest, and to do so by evidence. The normally

applicable scrutiny level is applicable to challenges to restrictions under pandemic-fighting

authority, i.e., not Jacobson’s analysis.

     228.     Roman Catholic Diocese was preceded by a similar case (church occupancy limits in

the pandemic) in Calvary Chapel Dayton Valley v. Sisolak, 140 S. Ct. 2630 (2020) (Mem. Op.).

There Justice Alito dissented, joined by Justices Thomas and Kavanaugh, noting that “at the

outset of an emergency, it may be appropriate for courts to tolerate very blunt rules,” “[b]ut a

public health emergency does not give . . . public officials carte blanche to disregard the Constitu-

tion as long as the medical problem exists.” Id. at 2605. Rather, “[a]s more medical and scientific

evidence becomes available, and as States have time to craft policies in light of that evidence,

courts should expect policies that more carefully account for constitutional rights.” Id. That

dissenting view was essentially adopted by Roman Catholic Diocese, meaning that “blunt rules”

may be permitted initially, but fine-tuning to actual scientific evidence is then required—requiring

an evidence-focused inquiry in judicial review. Applying the normally required, current jurispru-

dence in that case required the government to justify itself under strict scrutiny, which eschews

blunt rules and mandates narrow tailoring to the least restrictive means to further a compelling

interest.

     229.     The Seventh Circuit noted the sea-change wrought by Roman Catholic Diocese in

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Cassell v. Snyders, 990 F.3d 539, 543, 545 (7th Cir. 2021).

     230.     So Jacobson’s analysis does not control here. States no longer have near carte

blanche to impose restrictions in the name of preventing pandemics, Instead, the applicable

scrutiny under today’s jurisprudence applies, with evidence clearly admissible and needed to

determine whether government action meets the relevant level of scrutiny. And even were

Jacobson deemed yet viable and applicable here, it recognized an exception where restrictions

violate rights or are unreasonable, e.g., by not actually promoting public health, and Roman

Catholic Diocese eliminated Jacobson’s extreme deference.

     231.     In modern jurisprudence, fundamental-liberty burdens require strict scrutiny.

Washington v. Glucksberg, 521 U.S. 702 (1997) (“narrowly tailored to serve a compelling state

interest”).

     232.      Refusing medical treatment is a fundamental right. The test is whether it was

deemed fundamental in “our nation’s history, legal traditions, and practices,” Glucksberg, 521

U.S. at 710. The Cruzan majority assumed such refusal is fundamental and five Justices said it

was. 497 U.S. at 287, 301, 330.

     233.     As mandated vaccinations are a substantial burden, IU must prove narrow tailoring

to a compelling interest that justifies mandatory vaccinations, not any more general interest. But

while government may have a general interest in mitigating COVID, the following problems

reveal no narrow tailoring to any compelling interest exists. Indiana imposes no student vaccina-

tion requirement, Ind. Dept. Health, Back to School Guidance (Fall 2021),10 and Indiana Univer-


        10
       https://www.coronavirus.in.gov/files/Fall%202021%20COVID-19%20One%20Page
%20Guidance%20(6.8.21).pdf (last visited June 21, 2021).

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sity lacks any uniqueness to justify doing so. University students have very low risk for serious

COVID illness, Part I.C.2, so IU lacks an interest in forcing vaccinations for such risks. University

students pose little risk of COVID transmission to the surrounding community. Id. University

students’ higher adverse-reaction risk from COVID vaccinations versus those for influenza, Part

I.D., undercuts an interest in compelling COVID vaccinations. Naturally acquired immunity from

COVID is as robust as vaccine-acquired immunity, Part I.D.4., so there is no compelling interest

in vaccinating those who’ve had COVID. Given natural and vaccine immunity, Indiana has de

facto COVID herd immunity. See generally Parts I.C. and I.D. So IU has no compelling interest in

mandating student COVID vaccination.

       234.   The same evidence establishes that, even if there were a compelling interest in

mandating vaccinations, IU’s Mandate is not narrowly tailored to such an interest. For example, a

blanket mandate ignores individual factors increasing (older age, co-morbidities) or decreasing

(having had COVID) students’ risks to themselves or to others. Mandating vaccines for all is the

sort of blunt rule perhaps appropriate at the beginning of a pandemic but not when the pandemic

has faded and much more is known about the risks in light of available treatments and studies.

       235.   Furthermore, IU’s Mandate fails modern rational basis scrutiny and under Jacob-

son’s exemption, since IU’s Mandate is “unreasonable” and “has no real or substantial relation”

“to protect[ing] the public health.” 197 U.S. at 31, i.e., it goes “beyond what [i]s reasonably

required for the safety of the public,” id. at 28. The same evidence that shows there is no

compelling interest or narrow tailoring with IU’s Mandate shows that it fails even under Jacob-

son.

       236.   Furthermore, note the internal illogic of IU’s position. In some situations it mandates

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masks and distancing. For that to be rational, it must be presumed that those work for preventing

virus spread. But if those work, there is no need for vaccination. IU blurs three groups: (1) those

who had COVID, who need no vaccination for their sake or others’; (2) those who have COVID,

who can and should be quarantined to protect others, after which these will have natural immu-

nity; and (3) those who haven’t had and don’t have COVID and are unvaccinated. No protection is

needed against the first two groups, other than quarantining those now affected, and no vaccine is

warranted. Others can protect themselves against the third group obtaining a vaccination, if they

wish, by masking and distancing. Mandating vaccination in the present state of knowledge has no

real, substantial relation to protecting public health.

    237.      In sum, IU’s Mandate is unconstitutional under both current strict-scrutiny jurispru-

dence and Jacobson’s exception.

                                              Count II
                    IU’s Mandate Violates Indiana’s Vaccine Passport Law.

    238.      Plaintiffs re-allege and incorporate by reference all of the allegations contained in all

of the preceding paragraphs.

    239.      Under Indiana law, state and local units are prohibited from requiring or issuing

vaccine “passports” that indicate an individual’s COVID immunization status. IC § 16-39-11.

    240.       IU’s Mandate not only requires IU students to take the COVID vaccine, but it also

requires them to prove they have taken it by filling out a form which requires them to: (1) certify

they took the COVID vaccine, and (2) report the dates they received COVID vaccine doses—this

violates the Vaccine Passport Law.

    241.      Indiana Attorney General Todd Rokita asserted the Vaccine Passport Law applies to


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public colleges and universities like IU because they are “arm[s] of the state.” Op. Letter Ex. 5, p.

1; see also Severson v. Bd. of Trustees of Purdue Univ., 777 N.E.2d 1181, 1191-92 (Ind. Ct. App.

2002).

    242.      Attorney General Rokita made clear that the Vaccine Passport Law does not prohibit

an entity from requesting proof of COVID immunization status, provided no negative conse-

quence arises from not producing the record. Op. Letter, Exhibit 5, p. 4 (emphasis added).

    243.      Every IU student is required to be vaccinated for COVID, unless they qualify for an

exemption. But it is not enough for an IU student to merely receive the COVID vaccine—he or

she “will need to report their vaccine using IU’s COVID vaccine self report form.” See Indiana

University, COVID-19 Frequently Asked Questions, https://www.iu.edu/covid/faq/index.html#

vaccine-req (last visited June 17, 2021).

    244.      Therefore, IU’s Mandate does not only require the vaccine, but also requires the

student prove his or her COVID immunization status.

    245.      IU students who fail to provide proof of their COVID immunization status (or who

have not been granted an exemption) will suffer severe negative consequences in direct violation

of the Vaccine Passport Law.

    246.      “Students who fail to comply [with the vaccination mandate or an exemption and the

required reporting of same ] ‘will have their class registration cancelled, CrimsonCard access

terminated, access to IU systems (Canvas, email, etc.) terminated, and will not be allowed to

participate in any on campus activity.’” See ¶ 21.

    247.      In short, if a student doesn’t provide IU with his or her COVID immunization status,



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IU virtually expels that student. Virtual expulsion from school for refusing to provide COVID

immunization status is a “negative consequence” that directly violates Indiana law.

       248.     Plaintiffs Roth and Sperazza are students at IU who have not been vaccinated for

COVID and who not qualify for an exemption. Therefore, they cannot provide IU’s requested

proof of COVID vaccination and will be subject to virtual expulsion by IU, in violation of Indiana

law.

       249.     In sum, IU’s Mandate violates Indiana’s Vaccine Passport Law.



                                         Prayer for Relief

       Wherefore, Plaintiffs request the following relief:

       250.     Declare IU’s Vaccine Mandate unconstitutional on its face;

       251.     Declare IU’s Mandate unconstitutional as applied to each Plaintiff;

       252.     Enjoin IU from enforcing IU’s Mandate on its face or as applied;

       253.     Grant Plaintiffs their costs and attorneys fees under 42 U.S.C. Section 1988 and any

other applicable authority; and

       254.     Grant any and all other such relief as this Court deems just and equitable.




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Dated: June 21, 2021                    Respectfully Submitted,

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